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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 JOSEPH MICHAEL ARPAIO,                                  *
                Plaintiff,                               *
 v.
                                                         *   Civil Action No. 1:19-cv-03366-RCL

 KEVIN ROBILLARD                                         *
 and                                                     *
 HUFFINGTON POST
                                                         *
 and
                                                         *
 TESSA STUART
                                                         *
 and

 ROLLING STONE                                           *

                Defendants.                              *

*      *       *       *      *      *       *       *       *     *      *      *      *         *

    DEFENDANTS THEHUFFINGTONPOST.COM, INC. AND KEVIN ROBILLARD’S
        RESPONSE TO PLAINTIFF’S NOTICE OF NEW CASE AUTHORITY

       Defendants TheHuffingtonPost.com, Inc. and Kevin Robillard (the “HuffPost

Defendants”) provide the following response to Plaintiff’s Notice of New Case Authority (ECF

No. 35) (“Notice”). The order in Blankenship v. Napolitano, et al., No. 2:19-cv-00236 (S.D. W.

Va. Mar. 31, 2020), has no bearing on the HuffPost Defendants’ pending Motion to Dismiss or

Motion for Sanctions because Plaintiff’s Complaint does not allege that the HuffPost Defendants

called him a felon. See Compl. ¶¶ 23-26. Moreover, the order in Blankenship is not relevant to

the HuffPost Defendants’ primary arguments regarding res judicata or issue preclusion, nor can

it affect any of the other arguments raised by the HuffPost Defendants.




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DATED: April 2, 2020

                              Respectfully submitted,

                              /s/ Jean-Paul Jassy
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                              Kevin Robillard




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2020, a copy of the foregoing Response to Plaintiff’s

Notice of New Case Authority was electronically filed through the CM/ECF system, which

caused the following parties or counsel to be served by electronic means, as more fully reflected

on the Notice of Electronic Filing:




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